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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §
                                                             Case No. 2:-12-CR-9-3-JRG-RSP
                                                §
JOELI HIGUERA FERNANDEZ                         §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 1 in a

superseding indictment with a violation of 21 U.S.C. ' 846, Conspiracy to Possess with Intent to

Distribute and Distribution of more than 50 grams of methamphetamine. Having conducted a

proceeding in the form and manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge

recommends that the Court accept the defendant=s guilty plea. The parties waived their right to file

objections to the Findings of Fact and Recommendation. The Court is of the opinion that the

Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed May 6, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 1 of the superseding indictment in the above-numbered cause.




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   SIGNED this 19th day of December, 2011.
  So ORDERED and SIGNED this 3rd day of June, 2013.




                                            ____________________________________
                                            RODNEY GILSTRAP
                                            UNITED STATES DISTRICT JUDGE




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